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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

UL LLC
                              Plaintiff,
v.                                                   Case No.: 1:24−cv−05631
                                                     Honorable Andrea R. Wood
Joshua Callington
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, February 21, 2025:


        MINUTE entry before the Honorable Andrea R. Wood: Due to a change in the
Court's schedule, telephonic status hearing set for 2/24/2025 is stricken and reset for
3/5/2025 at 9:45 AM. To ensure public access to court proceedings, members of the
public and media may call in to listen to telephonic hearings. The call−in number is (650)
479−3207 and the access code is 1808131170. Counsel of record will receive an email 30
minutes prior to the start of the telephonic hearing with instructions to join the call.
Persons granted remote access to proceedings are reminded of the general prohibition
against photographing, recording, and rebroadcasting of court proceedings. Violation of
these prohibitions may result in sanctions, including removal of court−issued media
credentials, restricted entry to future hearings, denial of entry to future hearings, or any
other sanctions deemed necessary by the Court. Mailed notice (lma, )




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